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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DEMOCRATIC PARTY OF GEORGIA,
INC., DSCC, and DCCC,
           Plaintiffs,                                Civil Action File No.
                                                      1:19-cv-5028-WMR
                    v.
BRAD RAFFENSPERGER, in his official
capacity as SECRETARY OF STATE OF
GEORGIA; REBECCA N. SULLIVAN,
DAVID J. WORLEY, SETH HARP, and
ANH LE, in their official capacities as
Members of the Georgia State Election
Board; and STEPHEN DAY, JOHN
MANGANO, ALICE O’LENICK, BEN
SATTERFIELD, and BEAUTY
BALDWIN, in their official capacities as
Members of the Gwinnett County Board of
Registration and Elections,
            Defendants.



  JOINT NOTICE OF SETTLEMENT AS TO STATE DEFENDANTS

      Plaintiffs Democratic Party of Georgia, Inc., DSCC, and DCCC

(“Plaintiffs”) and Defendants Brad Raffensperger, in his official capacity as

Secretary of State of Georgia, and Rebecca N. Sullivan, David J. Worley, Seth Harp,

and Anh Le, in their official capacities as members of the Georgia State Election

Board (“State Defendants”) hereby give notice of settlement of the above-
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captioned matter. The settlement agreement between the parties is set forth in

Attachment A. Plaintiffs agree to voluntarily dismiss this matter as to State

Defendants within 5 days of March 22, 2020, the effective date of the Prompt

Notification of Absentee Ballot Rejection rule specified in paragraph 2(a) of the

attached settlement agreement and codified in Section 183-1-14-.13 of the

Georgia Rules and Regulations.

Dated: March 6, 2020                           Respectfully submitted,

/s/ Bruce V. Spiva                             /s/ Vincent R. Russo

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Counsel for Plaintiffs



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 6th day of March, 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to parties in this action.


Dated: March 6, 2020                           /s/ Bruce V. Spiva
                                               Counsel for Plaintiffs




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